            Case 1:21-cr-00409-UNA Document 1 Filed 10/01/21 Page 1 ofFILED
                                                                       11 IN CHAMBERS
                                                                                                           U.S.D.C ATLANTA
                                                                                                         Oct 01 2021
                                                                                                   Date: _________________________
                                      United States District Court
                                      NORTHERN DISTRICT OF GEORGIA                                 KEVIN P. WEIMER , Clerk
                                                                                                       s/Christopher Boundy
                                                                                                   By: ____________________________
  UNITED STATES OF AMERICA                                                                                   Deputy Clerk
  v.                                                                      CRIMINAL COMPLAINT
                                                                          Case Number: 1:21-MJ-927
  Jaime Cruz Duarte


I, the undersigned complainant being duly sworn, state the following is true and correct to the best of my
knowledge and belief. On or about September 30, 2021 in Henry County, in the Northern District of
Georgia, defendant did, knowingly and willfully combine, conspire, confederate, agree, and have a tacit
understanding with others, to violate Title 21, United States Code, Section 841(a)(1), that is to knowingly
and intentionally possess with intent to distribute a controlled substance, said act involving at least 500
grams of a mixture and substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance

in violation of Title 21, United States Code, Section 846.
I further state that I am a Task Force Officer and that this complaint is based on the following facts:
PLEASE SEE ATTACHED AFFIDAVIT


Continued on the attached sheet and made a part hereof.           Yes




                                                         Signature of Complainant
                                                         Caleb M. Poole

Based upon this complaint, this Court finds that there is probable cause to believe that an offense has
been committed and that the defendant has committed it. Sworn to before me, and subscribed in my
presence

 October 1, 2021        at 3:20 PM                           at    Atlanta, Georgia
 Date                                                              City and State



 ALAN J. BAVERMAN
 UNITED STATES MAGISTRATE JUDGE
 Name and Title of Judicial Officer                                Signature of Judicial Officer
 AUSA Rachel Lyons
 Rachel.Lyons@usdoj.gov                                             Sworn to me by telephone pursuant to Federal
                                                                    Rule of Criminal Procedure 4.1

                                                                                ATTEST: A TRUE COPY
                                                                                   CERTIFIED THIS

                                                                         Date: Oct 01 2021
                                                                               ________________________

                                                                        KEVIN P. WEIMER, Clerk

                                                                            s/Christopher Boundy
                                                                        By: ____________________________
                                                                                 Deputy Clerk
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                    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

          I, Caleb M. Poole, a Drug Enforcement Administration (“DEA”) TaskForce

Officer, United States Department of Justice, depose and state under penalty of

perjury that the following is true and correct to the best of my knowledge and

belief:

1.        I prepare this Affidavit in support of a criminal complaint against Jaime

          Cruz DUARTE (“DUARTE,”) Antonio Penaloza TORRES (“TORRES,”)
          and Rito Armando Torres GUTIERREZ (“GUTIERREZ”) for conspiracy to

          possess with intent to distribute a controlled substance, said act involving

          at least 500 grams of a mixture and substance containing a detectable

          amount of methamphetamine, a Schedule II controlled substance, in

          violation of 21 U.S.C. § 846.

                                     INTRODUCTION

2.        I am an investigative or law enforcement officer of the United States under

          Title 18, United States Code, Section 2510(7), that is, an officer of the United

          States, who is empowered by law to conduct investigations and make arrests

          for offenses enumerated in 18 U.S.C. § 2516.

3.        I am a certified peace officer in the State of Georgia and since January 2019, I

          have been assigned as a Task Force Officer with the DEA Atlanta-Carolinas

          High Intensity Drug Trafficking Area (“HIDTA”) Group Three. I am a
          Georgia POST certified law enforcement officer employed by the Georgia

          Department of Corrections as a Special Agent. I have been employed as a

          law enforcement officer for approximately 11 years which has included

          assignments as a Federal Bureau of Investigation Task Force Officer and a

          Georgia Bureau of Investigation Task Force Officer.
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4.   During the course of my law enforcement career, I have spoken to, and

     worked with, more experienced federal, state, and municipal narcotic agents

     and officers. I have participated in numerous investigations of illicit drug

     trafficking organizations involving the use of confidential informants,
     electronic and physical surveillance, the analysis of telephone toll records,

     investigative interviews, and the service of search and arrest warrants. These

     investigations include the unlawful importation, possession with intent to
     distribute, and distribution of controlled substances, as well as the related

     laundering of monetary instruments, the conducting of monetary

     transactions involving the proceeds of specified unlawful activities, and
     conspiracies associated with criminal narcotic offenses, in violation of Title

     21, United States Code, Sections 841(a)(1) and 846.

5.   I have written and executed numerous search and arrest warrants pertaining

     to the seizure of all types of criminal evidence such as illegal drugs, drug

     paraphernalia, drug records, drug proceeds and evidence of other types of

     crimes, pertaining to the arrest of individuals involved in drug trafficking

     activities. I have received specialized training in the enforcement of drug

     laws, with an emphasis on drug trafficking and drug organizations. I have
     participated in numerous drug investigations and have deployed various

     investigative techniques during those investigations. I have become familiar

     with the patterns of activity of drug traffickers, the types and amounts of
     profits made by drug dealers, and the methods, language, and terms that are

     used to disguise the source and nature of the profits from illegal drug

     dealings.

6.   I have interviewed drug dealers, users, and confidential informants, and

     have discussed with them the lifestyles, appearances, and habits of drug
     dealers and users. I have become familiar with the manner in which
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     narcotics traffickers smuggle, transport, store, and distribute narcotics, as
     well as how they collect and launder drug proceeds. I am also familiar with

     the manner in which narcotics traffickers use telephones, cellular telephone

     technology, coded communications or slang-filled conversation, false or
     fictitious identities, and other means to facilitate their illegal activities and

     thwart law enforcement investigations. I have discussed packaging,

     preparation, methods of operation, and security measures which are often
     employed by narcotics traffickers. I have examined records consisting in part

     of buyer’s and seller’s lists and pay/owe ledgers. I have also examined

     documentation of various methods in which methamphetamine and other

     illegal drugs are produced.

7.   Based on my training and experience, and the training and experience of

     other agents, I know that it is common practice for narcotics traffickers to

     routinely utilize telephones and cellular telephones, as well as web-based

     applications, in order to communicate with their customers, suppliers,

     couriers, and other co-conspirators and in order to insulate themselves from

     detection by law enforcement. Moreover, it is not unusual for them to

     initiate such service under the name of an associate or under a fictitious

     name. Furthermore, it is not unusual for narcotic traffickers to utilize false or

     incomplete addresses for subscriber information related to their cellular

     telephone. Therefore, such data often will not be useful to determine the

     location of a particular cell phone user.

8.   Based upon my training and experience, as well as the knowledge and

     experience of other agents, I am aware that it is generally a common practice

     for drug traffickers to store their drug inventory and drug related

     paraphernalia in their residences and vehicles. Furthermore, it is generally a
     common practice for drug traffickers to maintain their records relating to
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     their drug trafficking activities. Because drug traffickers in many instances
     will “front”, i.e. give with an expectation of later payment, controlled

     substances to their clients, or alternatively, will be “fronted” controlled

     substances from their suppliers, such record- keeping is necessary to keep
     track of the amounts paid and owed, and such records could also be

     maintained close at hand so as to readily ascertain certain balances.

     Additionally, telephone/address listings of clients and suppliers necessarily
     may be maintained and be immediately available to other drug traffickers in

     order to efficiently conduct their drug trafficking business. Moreover, it is

     also a generally common practice for traffickers to conceal at their residences
     and inside of their vehicles large sums of money, either the proceeds from

     drug sales or funds to be used to purchase controlled substances. In this

     connection, drug traffickers typically make use of wire transfers, cashier’s

     checks, money orders, and bulk currency to pay for controlled substances.

     Evidence of such financial transactions and records relating to income and

     expenditures of money and wealth in connection with drug trafficking

     would also typically be maintained in their residences and vehicles.

9.   I am also aware from my own experience and training that drug traffickers

     commonly maintain firearms, ammunition, and other weapons in their

     vehicles and residence for the purpose of protecting their drug inventory

     and drug proceeds stored there, not only from law enforcement personnel,
     but also other drug traffickers who may attempt to “rip” them off. I am also

     aware that drug traffickers frequently secrete cash proceeds and other

     evidence for their drug trafficking activities inside locked safes, boxes, or

     containers that are maintained in the property under their control.
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                         SOURCES OF INFORMATION

10.   The information contained in this Affidavit is based on both my personal

      knowledge of this case and information relayed to me by other law
      enforcement authorities and sources of information. The facts set forth

      below do not reflect all information known to me or other officers regarding

      this investigation. I simply include the facts necessary to establish probable

      cause to support the criminal complaints.

                          STATEMENT OF PROBABLE CAUSE
11.   In May of 2021, agents began investigating a broker involved in the purchase

      and sale of half-kilogram and kilogram amounts of methamphetamine within

      the Northern District of Georgia. On September 30, 2021, DEA members

      traveled to the CVS Pharmacy located at 315 Fairview Rd, Ellenwood,

      Georgia, 30294, for a controlled purchase of one kilogram of

      methamphetamine set up by the broker.

12.   At approximately 12:10 p.m. the UC contacted the broker at telephone

      number +57-313-644-0376. At 12:15 p.m. the individual responded asking for

      the description of the undercover vehicle. Approximately five minutes later, a

      2010 blue Volkswagen Jetta with Georgia license plates driven by an

      unknown Hispanic male, later identified as Jamie Cruz DUARTE, arrived in

      the parking lot and parked his vehicle next to the UC vehicle. DUARTE

      exited his vehicle and walked to the front passenger door of the UC vehicle

      where he provided the agent with approximately one kilogram of

      methamphetamine in exchange for $4,500.00 dollars Official Advanced Funds
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          (OAF). The kilogram of methamphetamine provided by DUARTE later

          fielded-tested positive for methamphetamine.

    13.   DUARTE got back in the driver seat of his vehicle and left the CVS parking

          lot. Agents witnessed DUARTE travel to a Chevron gas station where he

          purchased a bag of ice. Agents then followed DUARTE directly to Lakeside

          Drive, Ellenwood, Georgia. 1 Once on Lakeside Drive, DUARTE pulled into

          the cul-de-sac on Lakeside Drive and into a driveway on the right-hand side.

          A short time, later agents drove through the cul-de-sac and did not observe

          DUARTE’s vehicle. Agents set up surveillance in the area that DUARTE’s

          vehicle was last observed.

    14.   At approximately 2:30 p.m., agents observed two Hispanic males exit the

          garage door of the residence located at 195 Lakeside Drive, Ellenwood,

          Georgia and enter a Nissan Frontier that was parked in front of the residence.

          Some agents maintained surveillance of the two Hispanic males as they left

          the residence, while other agents stayed in the area of 195 Lakeside Drive.

    15.   At approximately 2:33 p.m., Georgia State Patrol Trooper Harman conducted

          a traffic stop on the Nissan Frontier for a window tint violation and failure to

          maintain lane at the intersection of Panthersville Road and Penders Ridge

          Drive. Trooper Harman made contact with the driver and passenger of the

          vehicle who identified as Antonio Penaloza TORRES and Rito Armando




1Agents later confirmed that it took approximately five minutes to travel from the meet location to the residence located
on Lake Side Drive.
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          Torres GUTIERREZ, respectively. Neither individual had a valid driver’s

          license. Trooper Harman asked them to exit the vehicle. Both men gave

          consent to search the vehicle. Trooper Harman asked the occupants to empty

          their pockets. GUTIERREZ had approximately 2,000 dollars cash in his front

          pocket and TORRES had approximately 900 dollars cash in his front pocket.

          Trooper Harmon asked the occupants where they were coming from, to

          which they stated that they were coming from, and lived in, Morrow,

          Georgia. Trooper Harmon utilized a K-9 to conduct an open-air sniff of the

          vehicle; the dog alerted to the presence of narcotics. During the search of the

          vehicle agents located two wire transfer receipts. According to the receipts

          GUTIERREZ wired approximately 1,000.00 dollars to a Sonia Sanchez

          Solorzano located in California. 2

    16.   After the Frontier was stopped by Georgia State Patrol, agents observed the

          garage door open at 195 Lakeside Drive, Ellenwood, Georgia. Agents

          observed the previously surveilled 2010 Volkswagen Jetta exit the garage and

          leave the area. The Volkswagen appeared to be driven by DUARTE. While

          the garage was opened agents observed a second vehicle, a white SUV, in

          parked in the garage. At approximately 2:41 p.m., Georgia State Trooper

          Smith conducted a traffic stop on the Volkswagen Jetta for illegal window

          tint. Trooper Smith made contact with the driver who identified himself as

          Jaime Cruz DUARTE. During the traffic stop, the undercover agent who


2
 Based on my training and experience, I know that California is a common location for narcotics trafficking and the transfer of drugs
and/or money.
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      previously purchased the kilogram of methamphetamine confirmed

      DUARTE was the courier who sold the one kilogram of methamphetamine.

17.   Trooper Smith utilized his K-9 partner to conduct an open-air sniff of the

      vehicle and the dog gave a positive alert. The vehicle was then searched by

      law enforcement. During the search, approximately 20,000 dollars was

      located in a bag located under the driver’s seat of the vehicle. The 20,000

      dollars were banded together utilizing rubber bands. DUARTE told agents

      that he did not know who the money belonged to. DUARTE stated that he

      was going to Roswell or Alpharetta to do construction work.

18.   A short time after the traffic stops, Trooper Harmon utilized his K-9 partner

      to run an open-air sniff on the currency seized from the two traffic stops

      mentioned above. Trooper Harmon stated that his K-9 partner gave an

      individual positive alert to each amount of currency seized form DUARTE,

      TORRES and GUTIERREZ.

19.   At approximately 8:25 p.m. a federal search warrant was issued for the

      residence located at 195 Lake Side Drive, Ellenwood, Georgia.

20.   At approximately 8:30 p.m. agents arrived at 195 Lake Side Drive. Agents

      made entry and secured the residence without incident. There were no

      individuals inside. Once the residence was secured, agents began to search.

      The residence had three-bedrooms and two bathrooms. There was little

      furniture present in the living room or kitchen areas of the home. Agents

      located approximately 221 kilograms of methamphetamine throughout the
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             residence, contained in gallon-sized zip-lock bags. In the living room, agents

             discovered over 100 kilograms of methamphetamine in Rubbermaid

             containers in the center of the room.

    21.      The first bedroom appeared to be used as sleeping quarters. Men’s clothing

             was present in the closets and on the floor. There were three twin size

             mattresses on the floor. There was a semi-automatic handgun with a gold-

             plated image of the Virgin Mary. Also present in the room were separate wire

             transfer receipts in the names of DUARTE, GUTIERREZ, and TORRES, 3 an

             unknown amount of U.S. Currency, a money counter, a drug ledger, and a

             cellular phone.

    22.      The second bedroom appeared to be used as a storage area that had two more

             Rubbermaid containers holding methamphetamine in gallon-sized bags.

             Inside the closet was a laundry basket that held additional kilograms of

             methamphetamine. There was approximately 100 kilograms of suspected

             methamphetamine located in this bedroom.

    23.      The third bedroom contained acetone containers and a small amount of

             methamphetamine drying in a Rubbermaid container. 4 In the bathroom

             connected to this bedroom, there was another kilogram of methamphetamine

             in a plastic bag hanging above the medicine cabinet to dry.

    24.      Agents discovered what appeared to be a clandestine methamphetamine




3
    Based on my training and experience, I know that drug traffickers often wire their proceeds to other members of the organization.
4
    Acetone is commonly used in the processing of methamphetamine.
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      laboratory in the common area of the residence, master bedroom, and

      basement. For example, in addition to the acetone, agents found propane

      burners in the living room. Upon searching the basement, agents discovered

      approximately 12 industrial-sized trash bags containing a mixed solid

      substance. When field-tested, the substance tested positive for

      methamphetamine. Agents used approximately 75 five-gallon buckets to

      package the substance located in the basement. The basement also contained

      what appeared to be a processing area where the methamphetamine may

      have been separated out of the mixed solid substance.


                                      CONCLUSION

25.   Based on the information above, I submit that there is probable cause to

      believe that, in the Northern District of Georgia, Jaime Cruz DUARTE,

      Antonio Penaloza TORRES, and Rito Armando Torres GUTIERREZ did
      knowingly and willfully conspire to possess with intent to distribute a

      controlled substance, said act involving at least 500 grams of a mixture and

      substance containing a detectable amount of methamphetamine, a Schedule II

      controlled substance, in violation of 21 U.S.C. §§ 846.

                                   END OF AFFIDAVIT
